FOR THE EASTERN DIVISION OF VIRGINIA

RICHMOND DIVISION

A.B. .. , by her Mother,
SAKIA HALL, as next friend, and
SAKIA HALL,
Plaintiffs,
Vs. 3:1l1-cv-OCG065-JRS
HAROLD FORD,
Defendant.

DEPOSITION OF KAREENA EDWARDS-CARTER

May 26, 2011

5:25 p.m.

Taken at:

The City Attorney's Office
900 Bast Broad Street, Suite 300
Richmond, Virginia

REPORTED BY: LISA M. KULL, RPR

COOK & WILEY, INC.
Registered Professional Reporters
Post Office Box 14582
Richmond, Virginia 23221

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T will start with Ms. Edwards-Carter.

EXAMINATION BY MR. CORRIGAN:

Q Ms. Carter-Edwards, would you state your
Tuli name, please?

A Karenna Edwards-Carter.

Q And Ms. Edwards, what do you do for a

A I'm an elementary school teacher.

Q Where do you teach?

A Fairfield Court Elementary.

° Wnat grade?

A Third grade.

Q How long have you been teaching third
grade at Fairfield Court Eiementary?

A Three years.

0 Last year during the 2009-2010 school
year, did a young lady named -®.8. . , Was she
one of the students in your class?

A Yes.

0 Do you recall a time last year on Maren
23, 2010 when there was an incident in your class
where Ms. Ebanks was present and Officer Ford was
present?

A Yes.

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Q Let me show you a report that I believe
you prepared. Is that your signature?

A Yes.

Q And is that the report that you
prepared?

A Yes.

Q Okay. And does that report accurately
set forth what occurred that day?

A Yes.

Q If you would just describe for me your
best recollection of what was going on on March
23, 2010 in your classroom?

A There was one student who was upset about
something. And he kept pulling his chair back and
forth and making noises. And some of the kids
were, you know, he was doing things to make some
of the other kids laugh. And I was reminding them
that we were coming down to almost to SOL time and
they should be getting serious. I thought I would
call Ms. Ebanks in just to talk to them, remind
them of the expectations.

Q Who is Ms. Ebanks?

A Ms. Ebanks is the assistant principal.

Q What happened next?
A

She came down to the room. Officer Ford

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i was with her. She started talking to the kids.
2 And most of -- well, they got quiet. They were
3 responding to her positively except for: 4.6- She
4 . was scratching on her desk with her nails. She
2 had fake nails on. And she was pushing her desk
6 back and forth, back and forth. She was moving
7 her chair, you know, she was just being really
g disrespectful.
2 And Officer Ford asked her what the
10 problem was. She kept doing the same thing. He
11 asked her if she wanted to step outside and talk.
12 0 Before that happened, did there come a
13 time when you discussed with Ms. Ebanks the
14 behavior of the class and decided that there was
15 going to be lunch in the room?
16 A Oh, yes. I think that was ~- that's what
17 made K.8, *o, prompted 4,8, to start acting up.
18 Ms. Ebanks asked me if I wanted her to take a
13 student out. And I told her I would prefer if
20 they have lunch inside instead of going to --
21 I don't remember what activity they had afterward.
22 But, we would have lunch inside and then we would
23 do language arts during that period because they
24 had to start their language arts book. And I was
25 not able to complete that.

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Q What was (4.B- _. .'s reaction to the

announcement that lunch was going to be in the
room?

A That's when she started pulling her desk
and making noises.

Q And chat's when Officer Ford asked her if
she had something she wanted to say?

A Yes. And she continued doing what she
was doing.

Q Was he respectful toward her? Officer
Ford?

A Yes, he was.

Q Okay. And what happened then?

A He asked her to step outside. And, I
mean, she got up and she went outside with him.

Qo Okay. And was that the last you saw or
them at that time?

A At that time, yes.

Q Okay. Did she come back in the classroom
later that day?

A Yes, she did. She came back. She came
back. I think she actually had lunch in the room
with us. You know, I don't remember if she came
back after lunch. But, I remember when she came

back she was calm for the entire day.

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Qo She was calm?

A For the rest of the day, didn't have any

0 She behaved herself?

A She did. She behaved herself. In the
afternoon, when it was time for her to go home,
she didn't want to go home. She wanted to stay
after school. And I'm thinking, since she behaved
well for the rest of the day, I would ask her
mother, because her mother was in the office to
pick her up. I would ask her if she could stay.

So, when they called for her, I told her
to go, leave her stuff, go up to the office to ask
her if she could stay after school. She said no.
So she came back to get her stuff.

MR. CORRIGAN: Okay. Thank you. That's
all the questions I have for you today.

{Examination concluded at 5:33 p.m.}

AND FURTHER THIS DEPONENT SAITH NOT.

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